  Case 1:21-cr-00032-DLF          Document 1-1        Filed 01/16/21      Page 1 of 13




               IN THE UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )
                                              )       Criminal No.
               v.                             )
                                              )
GUY WESLEY REFFITT,                           )
                                              )
                Defendant.                    )

                            AFFIDAVIT IN SUPPORT OF
                    CRIMINAL COMPLAINT AND ARREST WARRANT

       I, Thomas B. Ryan, being duly sworn, affirm and state:

                                       INTRODUCTION

       1.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and have

held this position since January, 2001. I am currently assigned to a The Safe Streets Task Force

(SSTF) out of the Washington, D.C. Field Office of the FBI. The SSTF is a squad that investigates

narcotics, violent acts and illegal weapons trafficking by gangs in Washington, D.C. and the

surrounding areas of Maryland and Virginia.

       2.      This affidavit is submitted for the purpose of establishing probable cause. The facts

in this affidavit are based on my investigation, personal observations, training, and experience, as

well as information conveyed to me by other law enforcement officials. Because this affidavit is

limited in purpose, it is not intended to include each and every fact and matter observed by me or

known to the United States.

                                  PURPOSE OF AFFIDAVIT




                                                  1
    Case 1:21-cr-00032-DLF        Document 1-1        Filed 01/16/21      Page 2 of 13




       3.      This affidavit is submitted in support of a criminal complaint charging the

defendant, GUY WESLEY REFFITT (hereinafter “REFFITT”), with one count of Obstruction of

Justice, in violation of Title 18, United States Code, Section 1512(a)(2)(C). This affidavit is also

submitted in support of an arrest warrant for REFFITT.

                                  STATEMENT OF FACTS 1

       4.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions

around the U.S. Capitol include permanent and temporary security barriers and posts manned by

U.S. Capitol Police. Only authorized people with appropriate identification are allowed access

inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed

to members of the public.

       5.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately

1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.

Vice President Mike Pence was present and presiding, first in the joint session, and then in the

Senate chamber.

1
 Paragraphs 4 through 19 are repeated from the affidavit in support of the arrest warrant for
Unlawful Entry on Capitol Grounds, which was submitted on January 15, 2021. Newly provided
material begins with paragraph 20.


                                                 2
  Case 1:21-cr-00032-DLF          Document 1-1        Filed 01/16/21      Page 3 of 13




       6.      As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep

the crowd away from the Capitol building and the proceedings underway inside.

       7.      At such time, the certification proceedings still underway and the exterior doors

and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol

Police attempted to maintain order and keep the crowd from entering the Capitol; however, shortly

after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking

windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged

and assisted those acts.

       8.      Shortly thereafter, at approximately 2:20 p.m. members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session

of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice

President Pence remained in the United States Capitol from the time he was evacuated from the

Senate Chamber until the sessions resumed.

       9.      During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

and on the grounds of the U.S. Capitol without authority to be there.



                                                 3
    Case 1:21-cr-00032-DLF        Document 1-1        Filed 01/16/21      Page 4 of 13




       10.     Based on law enforcement review of the video footage, there appear to be dozens

of individuals spraying chemical irritant towards law enforcement officers guarding the U.S.

Capitol Building. Some individuals appeared to be wielding small handheld mace equivalents that

can be easily purchased. Others appeared to be spraying large cans of orange in color liquid which

appears consistent with bear spray and is known to have a higher potency than commercial

chemical irritants as it is designed for large animals. Others still appeared to be employing

chemical irritants from large nozzle-fed cylinders that appear consistent with what law

enforcement agencies would use for crowd control and would not otherwise be commercially

available. It is unclear if those devices were taken from Metropolitan Police Department (MPD)

and/or United States Capitol Police (USCP) officers or if they were brought to the Capitol by

individuals.

       11.     Law enforcement reports that officers also deployed chemical irritants to attempt

to keep people back from the police line and the U.S. Capitol. Specifically, MPD deployed, among

other things, large canisters of an OC spray with a clear stream/spray, and USCP deployed large

canisters of an OC spray with an orange stream. Individual officers may have also deployed

smaller, handheld canisters. According to MPD, the “standoff” distance for the large canisters of

OC spray is 12 feet; the maximum range as listed by the manufacturer is 25-30 feet.

       12.     On January 6, 2021, Reuters news service posted to YouTube a video of civil unrest

outside the U.S. Capitol on January 6. 2 Starting at about 20 seconds into the video, a white male

is visible on the West Front of the U.S. Capitol Building, on the north staircase, between the Lower

2
 The video is available here:
https://www.youtube.com/watch?v=KYCSjNh1FvA&list=PLZhRxE9191zMYuqM0lM3hAgPa0
CpYn-dH.
                                                 4
  Case 1:21-cr-00032-DLF          Document 1-1        Filed 01/16/21     Page 5 of 13




West Terrace and the Middle Landing of the Lower West Terrace. The male is wearing a blue

jacket over what appears to be a black padded or tactical-style vest, and he has a black helmet on

his head with what appears to be a Go-Pro-style camera attached. The male appears to be using a

water bottle to flush out his eyes. Below are still frames from the video:

               a.




               b.




                                                 5
Case 1:21-cr-00032-DLF   Document 1-1   Filed 01/16/21   Page 6 of 13




         c.




         d.




                                    6
    Case 1:21-cr-00032-DLF        Document 1-1       Filed 01/16/21      Page 7 of 13




         13.    On January 7, 2021, Fox News broadcast a program entitled Fox News at Night, 3

with anchor Shannon Bream, about the civil unrest at the U.S. Capitol on January 6. At about 1:00

into the broadcast, a white male is visible on the on the West Front of the U.S. Capitol Building,

on the north staircase, between the Lower West Terrace and the Middle Landing of the Lower

West Terrace. The male is wearing a blue jacket over what appears to be a black padded or tactical-

style vest, and he has a black helmet on his head with what appears to be a Go-Pro-style camera

attached. The male appears to be using a water bottle to flush out his eyes. Below are still frames

from the video:

                a.




                b.

3
    The broadcast is available here: https://video.foxnews.com/v/6221234520001#sp=show-clips.




                                                7
  Case 1:21-cr-00032-DLF       Document 1-1      Filed 01/16/21      Page 8 of 13




              c.




       14.    REFFITT is a licensed driver in the state of Texas. His Texas Driver’s License

number is 14891129. I have studied REFFITT’s Texas Driver’s License photograph and

determined that REFFITT is the person who appeared in the Reuters video that was posted on

YouTube and broadcast on the Fox News at Night television program.

                                             8
  Case 1:21-cr-00032-DLF         Document 1-1        Filed 01/16/21     Page 9 of 13




       15.     According to a law enforcement database, REFFITT’s cell phone number is 469-

910-7221.

       16.     On October 17, 2020, a person with the name “Guy Reffitt” posted a comment on

a website for “Texas Freedom Force.” The commenter provided his phone number as 469-910-

7221 and his email address as texasdriller2007@hotmail.com.

       17.     GPS data associated with REFFITT’s cell phone places the phone on January 6,

2021, in Washington, D.C., and specifically near the area of the U.S. Capitol Building.

       18.     On information and belief, the Texas Freedom Force is a militia extremist group.

       19.     Based on my training and experience with chemical irritants, and my knowledge

and review of the civil unrest at the U.S. Capitol Building on January 6, 2021, it appears that

REFFITT was at or past the police line protecting the Building, and was sprayed in the eyes with

some sort of chemical irritant. I know that chemical sprays such as oleoresin capsicum, also known

as “OC” spray or “Pepper” spray were used by both law enforcement personnel and rioters. I have

seen evidence that rioters used a form of OC spray called Bear Spray, which contains the same

oleoresin capsicum (as in pepper spray) as well as other similar chemicals more broadly called

“capsaicin and related capsaicinoids” or CRC. In my training and experience, a chemical irritant

such as bear spray or OC spray will leave a residue on clothing and will apparent based on smell

and appearance.

       20.     On January 16, 2021, FBI agents executed a search warrant on REFFITT’s home

in Wylie, Texas. Present during the execution of the search warrant were REFFITT, REFFITT’s

spouse (Spouse), and REFFITT’s minor daughter (Daughter). REFFITT’s adult son (Son) came



                                                9
 Case 1:21-cr-00032-DLF           Document 1-1       Filed 01/16/21      Page 10 of 13




to the house during the execution of the search warrant. FBI agents arrested REFFITT on the

outstanding arrest warrant for Unlawful Entry that was issued on January 15, 2021.

       21.       Son provided the following information: Son usually lived at the house, but

sometimes stayed elsewhere. Son was present on the night of January 8, 2021, when REFFITT

and another man drove up in Spouse’s car. On that night and in the ensuing days, REFFITT told

Son and other family members that REFFITT was at the U.S. Capitol on January 6, 2021, when

individuals took over the Capitol. REFFITT told Son and other family members that REFFITT

went to Washington, D.C., to protect the country, that REFFITT brought his gun with him, and

that “we” (apparently meaning REFFITT and/or others) “stormed the Capitol.” REFFITT stated

that REFFITT had recorded some of the events on his Go Pro camera that REFFITT was wearing

on his helmet.

       22.       Son provided the following information: On or about Monday, January 11, 2021,

while REFFITT was in REFFITT’s home with Son and Daughter, REFFITT stated that REFFITT

had to “erase everything” because the FBI was now watching REFFITT. REFFITT further told

Son that if Son crossed the line and reported REFFITT to the police, putting the family in jeopardy,

REFFITT would have no option but to do REFFITT’s duty for REFFITT’s country, and “do what

he had to do.” Son asked REFFIT words to the effect of, “Are you threatening us?” REFFITT

responded with words to the effect of, “Don’t put words in my mouth.” Son understood

REFFITT’s statements to be a threat to Son’s life.

       23.       Son provided the following information: Shortly after the above threat, REFFITT

threatened Daughter. Specifically, in REFFITT’s presence, Daughter was using her cellular phone

to talk with friends. REFFITT stated to Daughter that if Daughter were recording REFFITT or put

                                                10
 Case 1:21-cr-00032-DLF          Document 1-1       Filed 01/16/21     Page 11 of 13




this (meaning REFFITT’s comments) anywhere on social media, then Daughter will have crossed

the line, betrayed the family, and REFFITT was going to “put a bullet through” Daughter’s phone.

Daughter asked REFFITT why REFFITT was making them choose sides and threatening Son and

Daughter.

        24.    Son provided the following information: Son was aware that REFFITT possessed

two firearms, an AR-15 rifle and a Smith & Wesson pistol. Son saw REFFITT bring the two

firearms from the vehicle into the house when REFFITT returned home on the night of January 8,

2021.

        25.    Spouse provided the following information:       On January 11, 2021, Son and

Daughter stated to Spouse that, during an argument at the house earlier that day, when Spouse was

not at home, REFFITT stated to Son and Daughter words to the effect of: “If you turn me in,

you’re a traitor and you know what happens to traitors...traitors get shot.” Son and Daughter were

very upset.

        26.    Spouse provided the following information: Spouse did not believe REFFITT

would act on his words and, according to Spouse, neither Spouse nor Son or Daughter felt

threatened, but rather “disturbed” by REFFITT “extreme” statements.

        27.    Spouse provided the following information: Spouse “had words” with REFFITT

about what REFFITT had said to Son and Daughter. REFFITT repeated to Spouse what REFFITT

had said to Son and Daughter about traitors. REFFITT did not indicate regret or take anything

back. Spouse told REFFITT that REFFITT could not say things like that to Son and Daughter

because REFFITT was essentially saying REFFITT would kill them. At that, REFFITT told



                                               11
    Case 1:21-cr-00032-DLF         Document 1-1         Filed 01/16/21       Page 12 of 13




Spouse words to the effect of, “he was trying to protect the family, and if someone was a traitor

then that’s what’s going to happen.”

        28.       Spouse provided the following information: REFFITT is a member of a “3%er”

organization. 4

        29.       Spouse provided the following information: REFFITT is “super passionate” and

sometimes says things that REFFITT does not mean.

        30.       Daughter provided the following information: Daughter did not feel that REFFITT

was a threat to anyone in the family. Daughter stated that Daughter did not want to further

incriminate REFFITT, given that REFFITT was already being arrested.

        31.       During the execution of the search warrant at REFFITT’s home, FBI agents located

two firearms (among others): an AR-15 rifle and a Smith & Wesson pistol. On January 16, 2021,

REFFITT stated to agents that REFFITT had brought the Smith & Wesson pistol on his drive from

Texas to Washington, D.C., on or around January 6, 2021, but that REFFITT had disassembled it

to comply with the law in Washington, D.C.

        32.       On January 16, 2021, REFFITT stated to agents that he was at the U.S. Capitol on

January 6, 2021, but he did not go inside.

4
  Upon information and belief, militia extremists sometimes call themselves three percenters (“III%ers” or
“threepers”) based on the myth that only three percent of American colonists took up arms against the
British during the American Revolution. Some III%ers regard the present-day US Government as
analogous to British authorities during the Revolution in terms of infringements on civil liberties. While
many independent or multi-state militia groups incorporate III% in their unit names, the term is less
indicative of membership in a single overarching group than it is representative of a common belief in the
notion that a small force with a just cause can overthrow a tyrannical government if armed and prepared.




                                                   12
 Case 1:21-cr-00032-DLF           Document 1-1        Filed 01/16/21      Page 13 of 13




       33.     Based on the foregoing, your affiant submits that there is probable cause to believe

that REFFITT violated Title 18, United States Code, Section 1512(a)(2)(C), which makes it a

crime to use the threat of physical force, or attempts to do so, with the intent to hinder, delay, or

prevent the communication to a law enforcement officer of information relating to the commission

or possible commission of a Federal offense. REFFITT’s unlawful presence on the U.S. Capitol

grounds on January 6, 2021, is a Federal offense, in that it constitutes Unlawful Entry, in violation

of Title 18, United States Code, Section 1752(a).

                                         CONCLUSION

       34.     Based on my training and experience, and the information provided in this affidavit,

there is probable cause to believe that on or about January 11, 2021, in the Western District of

Texas, GUY WESLEY REFFITT did knowingly and willingly commit Obstruction of Justice, in

violation of Title 18, United States Code, Section 1512(a)(2)(C).

       35.     Under Title 18, United States Code, Section 1512(i), venue is proper in the District

of Columbia because the “official proceeding” – that is, prosecution of REFFITT and others related

to the civil unrest at the U.S. Capitol on January 6, 2021 – is, and will be, in the District of

Columbia.

                                              _________________________________
                                              SPECIAL AGENT THOMAS B. RYAN
                                              FEDERAL BUREAU OF INVESTIGATION


ATTESTED TO BY THE APPLICANT IN ACCORDANCE WITH THE REQUIREMENTS
OF FED. R. CRIM. P. 4.1 BY TELEPHONE, THIS _ __ DAY OF JANUARY, 2021.


                                                      ___________________________________

                                                      U.S. MAGISTRATE JUDGE
                                                 13
